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Elshinawy;   Come on guys. Uh huh.

Rod ski:     The ... It.., it was a Friday night. We had to come to talk to you ...

Elshinawy:   Yeah .

Rodski:      ...and it was for a multitude of reasons. It started with the fact there was a shooting last
             week ...

Elshinawy:   Yeah.

Rod ski:     ...and also because we got a lot of information about you so we had to figure out what
             was going on with you.

Elshinawy:   Un huh

Rodski:      Ah, but.., but we just had to do that but we ...

Elshinawy:   You figured out what' s going on and you went one more further then I gave you a lot...,
             all the information that I personally was investigating to know who is these people.
             Like ...

Kehoe:       That's good 'cause I..., that shows that we're cooperating with each other, you know?

Elshinawy:   Yes.

Kehoe:       And ..,and the fact that you are .., are speaking openly to us and, and answering our
             questions, you know?

Elshinawy:   I am . I am. I don't... I... I don't agree with anything they do. This is why I don't ...

Rod ski:     This is a good relationship. This is a very mutual beneficial thing ...

Elshinawy:   Hmph hmph.

Rodski:      ... and we are very happy with you and .., and ...

Elshinawy:   I mean ...

Rod ski:     ... I want you to feel that way.

Elshinawy;   I mean when they ..., you know, when they hurt people, they kill innocent people. This is
             against every religion. There is no religion that say to do this. There's no ... , nothing... ,
             other than a terrorist mind. That's it. Innocent people are innocent. That sort of thing.

Rod ski:     Have you ever debated that with "Tamer" or anyone else? Have you ever
             (Unintelligible)?

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Elshinawy:    (Slight laugh in voice). Ah, they would cut me off. Shit. (Laughs) .

Rod ski:      Okay. All right. See? That's okay.

Elshinawy:    (Slight laugh in voice). No.

Rod ski :     That' s good.

Elshinawy:    They would cut me off.

Rod ski:      So you're smart. That's good. I like that. That's good.

Elshinawy;    Yeah. They would cut me off right away. They would get suspicious about me right
              away. They got suspicious one time.

Kehoe:        What happened?

Elshinawy:    Ah, the two guys..., the ..., in Texas, the ..., who were trying to shoot ...




Elshinawy:    ... and the guys ... , like the two guys and I.., I insulted the guys. Like it just came naturally
              that, you know, they were like fuckin' crazy and he's like in the second I' m like whatta
              you mean? Ah, it' s like ..., you know, and I..., I tried to like re ... I thought that was it...,
              that was it..,

Rodski:       (Sl ight Laugh).

Elshinawy:    ...but ...

Rodski:       What did you say then? (Laughs).

Elshinawy:    I said .., I said ... , I said they're fuckin' crazy ..., what is this ..,

Rodski:       (Laughs).

Elshinawy:    ... and um ... , it..., I think it pa .., it passed, you know? I tried to like ... (Laughs) .

Rodski:       Did I mean crazy? I meant (Laughs).

Dressler:     What did you say to like backtrack? Like what did you ..., what did you ..., how did you fix
              it? It's ...

Elshinawy:    Well I just like oh, they're cool, they're cool. It.., it' s fine. I just give him the impression
              that, you know, ah, it's .. , it' s okay but I was gonna be disconnected at this point w ith
              them ...



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Rod ski:     {Unintelligible) ...

Elshinawy:   ...because ah, my tone like couldn' t just ha ...

Rodski:      'Cause ... {Unintelligible) ...

Elshinawy:   ... handle or nots .., saying that.

Rod ski:     You just said something. This is important. So they talked about that afte r it happened
             because they were just talking about the news or they were talking about it because ...

Elshinawy:   To motivate me. To motivate me. Like hey see this guy what he did?

Rod ski:     But did they say they they were behind that or did they say they...

Elshinawy:   Oh yeah, yeah.

Rod ski:     How ... , how did they talk about that?

Elshinawy:   Oh, he know ... 0 .., once he said did you see the guys, that means they're ... , they're
             belong to them.

Rod ski:     They belong to them?

Elshinawy:   Yeah .

Rodski:      Did he ever give any more details that they were ...

Elshinawy:   No.

Rod ski:     ...behind it or anything? Because they said to you about Texas in the ..., in the beginning.
             You said there were guys in Texas.

Elshinawy:   Yeah.

Rodski:      You think those were the guys?

Elshinawy:   Ah, I don't ... No, I don' t think so. {long pause)

Rod ski:     You don't thinks so?

Elshinawy:   No.

             No.

Rod ski:     Huh.

Elshinawy:   'Cause this event just showed up, you know, this.., this event.

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Rod ski:      Right.

Elshinawy:    Yeah.

Rod ski:      And they never said any other states, locations, cities...

Elshinawy:    No.

Rod ski:      Like nothing's ever come up in New York? How 'bout dates or times, ah, ever like hey
              Ramadan good or ...

Elshinawy:    Nothing. I'm ...

Rodski :      ... any American holidays?

Elshinawy:    Nothing. It's all about money and take it ... , like be destructive.

Rod ski:      Did they ever talk about any other groups? I mean people are always are getting behind
              them. We talked about the folks in Egypt that are now I..., they think they're 1515 ...

Elshinawy:    Uh huh

Rodski :      ... um ...

Elshinawy:    I dri nk ah

Rodski:       Please, please. Ah, Al-Qaeda, Al-Qaeda. Any .., anybody else? Have they ever talked
              about any other groups anywhere around the world ... or they just call 'em the Brothers?

El shinawy:   Again, again, I swear by God that is the truth. Most talk was about how to get the
              money.

Rod ski :     Well that's probably where ah .., we' re gonna have to do this again then. This is good.
              And you think you could do this again for us?

Elshinawy:    I can try. If...

Rod ski:      Okay.

Elshinawy:    ... he still trusts me . I'm not sure. I' m not sure.

Rod ski:      W ell "Tamer" still talks ah, to you so he's still...

Elshinawy:    Yeah. Oh, "Ta mer?" Yeah. "Tamer" just said hi, how are you and I was like that's ah,
              good news. Okay.

Rod ski:      That's really good news.

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Elshinawy:   Yes.

Kehoe:       Okay. Seems like it wouldn't take much at all for "Tamer" to find someone else,
             especially if there's ah ...,

Elshinawy:   Yeah, he ...

Kehoe:       ...and especially if they're as .., as desperate as you say. Seems like he could find another
             guy to contact.

Elshinawy;   It's hard ..., it's hard for "Tamer" to find another guy. How can he find another guy?
             What is the chance of "Tamer" living next to someone who's American citizen who lives
             in United States and find him in Facebook?

Kehoe:       No, no, no, no, I' m not..., I'm not saying that.

Elshinawy:   Oh.

Kehoe :      Not another guy in the U.S. I'm saying find another guy in Islamic State to talk to you
             since "Tamer. .."

Elshinawy:   I don't think ...,

Rodski:      Or, or we'll..., or we' ll...,

Elshinawy:   No, I don't think, I don't think this is possible too.

Rod ski:     ... we'll just get back in with this guy. Hopefully, we can get right back to this guy.

Elshinawy:   Yeah. If I.., if I said to "Tamer" like I'm not this guy, he'll be suspicious about me right
             away.

Rod ski:     Hmph hmph.

Kehoe:       Oh, I see what you' re saying.

Elshinawy:   Right away.

Rodski:      Yeah, so we' ll stick ..., we stick with this guy.

Kehoe:       That makes sense.

Elshinawy:   Yeah.

Rod ski:     That's fine .

Elshinawy:   Yeah, okay.

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Rod ski:     ...but just keep it nothing substantive.

Elshinawy:   But I mean I wanna ah ..., I mean ... , ah ..., I mean you' re ..., you're the guys that are expert
             but I wanna say somethin'. I have a suggestion. We need to come up...

Rodski:      Yeah.

Elshinawy:   ...with a plan.

Rod ski:     We will.

Elshinawy:   I can just be like... I.., I... This is like ..., just like this, this ... We need a plan. I mean ...

Rod ski:     Ah ...

Elshinawy:   ... a plan, right?

Rodski:      Well ah ...

Kehoe:       And you had a weekend to think about a plan. Remember? We were ..., and .., and we're
             gonna talk about it at the end .

Elshinawy:   Well the plan comes from the conclusion that you want to happen, that wa ... , says what
             the plan is. The conclusion is to prevent any attack ... , any .., anyone to communicate
             with them and be inspired by them.

Rod ski:     You're right but...

Elshinawy:   In order to do this, there is many things, right? There is ...

Rod ski:     Agreed.

Elshinawy:   You can't just like go 'head and do it.

Rod ski:     Yes.

Elshinawy:   We can ... , we can let's say ... Yeah, we can corporate with like ... By the way, by the way,
             there's one piece of information here, right, just to prove to you that I really, really
             wanna help you, right? They have people all over the world to send money 'cause they
             asking me where you want the money to come from? Turkey? China ...,

Dressler:    Hmph hmph .

Elshinawy:   ... England? Any country, point in the map there is people to send you the money. You
             got this part, right?

Rodski:      They said those countries are ...

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Elshinawy:    Yeah, yeah, yeah!

Rodski :     Those were the countries they suggested?

Elshinawy:    China, Turkey, England, um, Jordan, um, because I told you that it was a lot of discussion
              about the money. It was almost all about the money.

Rodski:       I love it. Keep go in'. Yep.

Elshinawy:    You know, this is what ...

Dressler:     Yeah, good. This stuff is good.

Rod ski:      We .. , we need this.

Elshinawy:    I' m telling you, I have something ...

Dressler:     Yeah.

Elshinawy:    ... good for you to s... (Laughs) ...

Rod ski:      This is good.

Elshinawy:    ... cooperate with.

Dressler:     Ye s.

Elshinawy:    This why I need a promotion or something. All right, so um ...

Kehoe :       No one gets promoted the second day.

Elshinawy:    (Laughs) .

Kehoe:         Maybe the third.

Elshinawy:    It depends on your work, right?

Kehoe:        Right.

Elshinawy:    Right?

Rod ski:      It does.

Elshinawy:    Okay.

Rod ski:      It does.



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Elshinawy:   All right. So um, so they have people all over the world. That's what he told me.

Rodski:      So what did you pick when they said which country you wanted to come from?

Elshinawy:   Oh P..., ah .., oh, well that was the ... , for the Western Union, right? This is regarding the
             Western Union when we talked about Western Union ...

Rod ski:     Oh, I thought it was for. ..

Elshinawy:   ... in the beginning ....

Rodski:      I thought it was for the Pay Pal.

Elshinawy:   No, the Pay Pal doesn't matter which country.

Rodski:      So you didn't pick ...

Elshinawy:   Spa ...

Rodski:      ... the country then, it was just through the Pay Pal account.

Elshinawy;   Yeah. Yeah.

Dressler:    How did they get to that ... How did that ... Remember when you showed us?

Elshinawy:   Guys I can ...

Dress ler:   Yeah.

Elshinawy:   ... give you the name of the guy who's connected with ISIS in England. It's not a
             problem ...

Dressler:    Okay.

Rodski:      Hmph hmph.

Elshinawy:   ... 'cause I have in my paper. I.., I investigated already. Like I went after them already ...

Kehoe:       Okay.

Dressler:    Oaky.

Elshinawy:   ... to make sure ...

Dressler:    Right.

Rod ski:     How.., how .., how did you ..., how did you do that?



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Elshinawy:   Yeah, that's my brother.

Rodski :     But he' s a good guy so I'll make sure that...

Elshinawy:   Yeah, yeah, he ah, yeah, he's clear.

Rodski:      Okay. Um, 'cause that' s what I wanna avoid.

Elshinawy:   Yeah, yeah.

Rod ski:     I..., I don't wanna .., um ... , I don't wanna ... , I wanna make sure that we keep your family
             out of all of this, that's all.

Elshinawy:   (Slight laugh in voice) . They're not useful anyway 'cause that's .., they don't know
             anything.

Rodskl :     Okay. So "Tamer's" really your .., your main in ...

Elshinawy:   Yeah.

Rod ski:     ...to this ..,

Elshinawy:   Hmph hmph.

Rod ski:     ... this guy?

Elshinawy:   Yeah.

Rod ski:     And then hopefully this guy can get you "hooked up" but your thought process here
             with this is to get anybody else that we can.

Elshinawy:   Hmph hmph.

Rod ski:     Like even China? Like China.

Elshinawy;   This is what he said, China.

Rodski:      You didn't a... , ever ask like China .., like nothing sounded surprising to you?

Elshinawy:   The whole thing was surprising. I was really like trying to get the money. (Laughs) .
             Sorry, the money.., the money just like I...

Rod ski:     (Slight laugh in voice). That's okay.

Elshinawy:   Yeah, 'cause I bought furniture. I bought all ...

Rod ski:     Thi .., this ...

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Elshinawy:   My whole furniture ... (Sighs).

Rodski:      The couch was three thousand dollars?

Elshinawy:   No, no, I bought my whole furniture. No, ah, the couch ... Ah .. I bought the bedroom,
             couch, computer. I fixed my car.

Rodski:      Hmph hmph.

Kehoe:       How much was the couch 'cause that's a nice couch.

Elshinawy:   How much was the couch?

Kehoe:       Yeah, how much was it? I guess about twelve hundred like that?

Elshinawy:   They said it's like five ... No, they said it's five hundred but once I was there, taxes,
             everything, everything was like... I went .., I went to the store. I paid like eleven
             hundred dollars.

Rod ski:     Wow, I would have guessed twelve. See I was close.

Elshinawy:   Yeah.

Kehoe:       Wow.

Rod ski:     Computer too? So wait a second, not one of the laptops we have.

Elshinawy:   And I fix ... I... My car was towed. I got it. Three hundred and seventy-five . I registered
             my car. Another two or three hundred. I just enjoyed it. Enjoyed the money. (Laughs).

Rodski:      That' s crazy. You realize how crazy this whole thing is?

Elshinawy:   I know.

Rod ski:     And you didn't tell anybody? Nobody... Your wife has no idea where all the ... She didn't
             question like where all this came from?

Elshinawy:   No, she just know that my family used to send me money, that's all.

Rod ski:     Oh!

Elshinawy:   'Cause they ..,. they used to send me like if it's um, hey mom, I'm down in money, blah,
             blah, blah ...,

Rod ski:     Hmph hmph.

             Really?

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Elshinawy:    There' s one more thing. Ah, there's one more thing I forgot to tell you about. About
              the money, right? There's another check that I did (Unintelligible).

              (Unintelligible).

Rod ski:      You were writing on this.

Elshinawy:    Yeah.

              Hmph.

Rod ski:      I hope there's many more things.

Elshinawy:    Sorry. There's ..., there is another ... There ... No, no. There's a twelve hundred dollar
              that I got through Pay Pal. I did it that way. Look, it is drop shipping.

Rodski:       This is important. Okay.

Kehoe :       Is this from ISIS?

Elshinawy:    Yeah.

Kehoe:        So this (Unintelligible) ....

Elshinawy:    Same .. , same .., same as ... Drop shipping. This drop shipping (sighs) you can sell product
              without having the product with you. It's called drop shipping. It's ...

Rod ski :     Yes.

Elshinawy:    Okay.

Rod ski:      Yes.

Elshinawy:    So in order to get... This .., this is the ... I'm sorry, for your question, I really remember
              this now because this been like in a.., in a period of times and I just take the money
              and .., and waste it right away. Let me just put you here the charge .., the right .., exactly
              the charge.

Rodski :      Please.

Elshinawy:    This is the last thing. There' s nothing else I didn't say.

Kehoe:        Oh, this is the last amount of money you got from the Islamic State.

Elshinawy:    This ... Exac ... Yeah, exactly everything.

Kehoe :       So you have four thousand four hundred dollars ...



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Elshinawy:   Plus .

Kehoe:       ... from the Islamic State.

Elshinawy:   Plus. No, plus, plus.

Kehoe:       Plus.

Rod ski :    No, four thousand plus another twelve hundred.

Elshinawy:   Yes.

Rodski:      (Laughs) . Oh, God .

Elshinawy:   And this is the last thing ...

Kehoe:       And that's it though right?

Elshinawy:   Mohamed ... The ... One second . Let me just finish what I'm saying ....

Rod ski:     Go ..., go on. Go .

Elshinawy:   ... once I.., once (Unintelligible). This is the last piece of information ...

Rodski:      Oh good.

Elshinawy:   ...that I really, really have. There's ah ... , a thousand three, twelve hundred . This twelve
             hundred done through drop shipping on E-Bay.

Kehoe:       How does that work?

Elshinawy:   You go to ah ..., website like Daba com .

Kehoe:       Right.

Rod ski:     D..., D-a-b-a?

Elshinawy:   Yeah.

Kehoe:       Daba ?

Elshinawy:   Like Daba.Com. You register with them for trial for free. They have ... You have access
             to like a million products and you can basically sell any of them online and once the
             customer buy it, they ship it in your name to the customer so you don't even have to
             have a prove that you have this product like that. You don't have it. Really. You don't.

Rod ski:     Right.



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Elshinawy:   But you can ... Like I know was interested ... , I was doin' this before . Like the drop
             shipping. I was trying to do it before.

Rod ski:     Okay.

Elshinawy:   So this is why I got the expert for that..., like ...

Rodski:      So what did you ...

Elshinawy:    I. ., I can make a website ..., I can make a website that sells about hundred thousand
              product on the website without having one single product with me and it is so ready to
              be shipped. If you buy it today, I ship it tomorrow or the same day.

Rod ski;      Would you ship for twelve hundred dollars? What did you ...

Elshinawy:    Whatta you mean

Rodski:       What did you say you wo uld ship?

Elshinawy:    Printers.

Rod ski :     Printers?

Elshinawy:    (Slight laugh in voice) . Yeah.

Rod ski:      What kind of printers?

Elshinawy;    I just got to Dab .., to Daba and I just like copy the picture .., whatever printer it is and it
              just put the price .

Rod ski :     So where did the the twelve hundred dollars come from?

Elshinawy:    The same guy.

Rodski:       England.

Elshinawy:    Yes.

Rodski:       Yo u remember when this was?

Elshinawy:    Ah, no. I don' t remember that.

Kehoe:        You have .., you have the receipt for this on your computer?

Elshinawy:    Yeah. Um ...

Kehoe:        Oh, you have this website you made?



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Elshinawy:   I still have the website but it didn' t come through the website. It came through E-Bay.

Rod ski:     Okay. So three thousand and twelve hundred came from the same guy.

Elshinawy:   Yeah. This is from the same guy.

Rod ski:     Forty-two hundred dollars.

Elshinawy:   Yes, and this is from Egypt.

Rodski:      And you never heard from this guy? He's never emailed you ....

Elshinawy:   No, no, no .

Rod ski:     ... or contacted you and said hey where's my forty-two hundred? But you ...

Elshinawy:   He on ..., he only goes by the order of the guy in Syria .

Rodski:      What did you ..., what did you do with the twelve hundred dollars? We know what you
             did with the ...

Elshinawy:   Spend it.

Rodski:      ... three thousand.

Elshinawy:   (Laughs) .

Rod ski:     Anything big? Anything good? No furniture?

Elshinawy:   This phone. (Laughs). One ofthem.          I just... Well this is ... I quit working there a month
             ago. He ran everything. I need ...

Rod ski:     Twelve hundred dollars .., and you don't remember the dates.

Elshinawy:   I waste money like really quick.

Rodski:      Can you do me a favor and go back and find out when the twelve hundred was after so
             the next time we know .., we at least... I know the three thousand was May 14th ...

Elshinawy:   Uh huh

Rodski:      ... and the one thousand, we already knew. We said June 28th . I' m curious to know
             when the twelve hundred was and that's it.

Elshinawy:   Look, after this, after this ... Now, this is.. , this is for you guys. You know, you told me
             last time if you lie, f.., federal, ah, ah, five years in jail, right?

Dressler:    And actually, theres a correction it is actually eight years.

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    Rodski:      Don't.., don't feel like for a second that you got...

    Elshinawy:   I just wanna be able to enjoy my life, that's all.

    Rod ski :    You .., you should be and you're .., you're our guest. This is nothing like ...

    Elshinawy:   Okay.

    Rodski:      ... you're ah ... One second here. This is gray walls like prison but we don't want you to
                 ever feel like you're in prison. This is ...

    Elshinawy:   (Laughs).

    Rod ski:     You should feel like you're one of us.

    Elshinawy:   That's what I'm tryin' ..., that's what I'm tryin' to get from you the feeling from you .., like
                 I'm trying to get that feeling.

    Rodski:      We want that.

    Elshinawy:   I'm waiting on you to give me that feeling.

   Rodski:       You haven't gotten it yet?

   Elshinawy:    Almost. Almost there.

   Rodski:       Oh. Almost?

   Elshinawy:    Yeah.

   Rodski:       (Slight laugh in voice) . What's it gonna take to get you there?

   Dressler:     (Slight laugh).

   Elshinawy:    (Laughs).

   Kehoe :       This is "Tamer's" Facebook page?

   Elshinawy:    Yes, that's his um ...

                 (Pause).

   Rodski:       So to your knowledge, "Tamer'' is part of ISIL right now or is at least ...

   Elshinawy:    Yeah. He's either living there to like ... Like I'm wondering how he .., how come he's alive
                 if he's there so I'm guessing he doesn' t do anything other than living off ah, ISIS there or
                 something like that. That's my guess. Ah ...

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    Rod ski:     Wow!

    Dressler:    Oh, you can help . See that's we're .., you know?

    Harvey:      Yeah .

    Elshinawy:   Hmph hmph.

    Dressler:    That's what this is.

    Kehoe :      Maybe we will promote you today.

    Elshinawy:   That's what I'm saying. Yeah.

    Dressler:    Hmph hmph.

    Elshinawy;   I should be promoted . (Laughing).

    Dressler:    Maybe you will.

    Elshinawy:   I got you .., I got you ... I... Like I have a guy. This guy send the money. There is... No
                 one is gonna send three thousand dollar unless he's with ISIS..., like married to ISIS.

   Dressler:     Yeah .

   Rod ski:      Hmph hmph.

   Elshinawy:    Yeah. And second thing, um, it'll be nice if I had my cigarette right now. Second thi...

   Rod ski:      You wanna go...

   Dressler:     You wanna take a break?

   Rod ski :     You can go o ut ... I'll go out with you. Let's walk. You wanna go out to ...

   Elshinawy:    To the car?

   Keh oe:       Ah ...

   Rodski:       Oh, you're ... It's all the way in your car?

   Elshinawy:    Yeah . (Slight laugh). Yeah.

   Kehoe :       Okay.

   Rod ski:      Is your car unlocked ?

   Dressler:     Okay.

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    Rodski:      I have coffee for you. This is ah ...

    Elshinawy:   (Laughs).

    Rod ski:     No, I'm sincere.

    Elshinawy:   Okay, okay.

    Rod ski:     I want you to see us for who we are. I'm Dave. He's Tim. I want you to .., I want you to
                 know us ..., that's it.., and we wanna have coffee with you. This is about coffee today .

    Elshinawy:   Hmph hmph.

    Rod ski:     I.., I. .. , I..., I.., I.., I...

   Elshinawy:    I wanna know like my legal situation . I wanna know and I'm like if we are in trouble
                 'cause if I'm in trouble then I should go ahead and try to get myself out of trouble ..., get
                 a lawyer on my case and stuff like this but then we will be in separate ways.

   Rodski:       And .., but that is your decision.

   Elshinawy:    But this is not your ser... But then it is no benefit of this. Really I know (Unintelligible).
                 There's no benefits. Someone took money. Okay. Um ... (Laughs). All right. How will
                 you benefit from that? Yeah.

   Rod ski:      That is not for me to decide. That is on you. That is..., it is your decision.

   Elshinawy:    But I don't see .., I don't see no payday.

   Rod ski:      You don't what? See what?

   Elshinawy:    I don't see much payday for me.

   Rodski:       The fact that Tim and I are here for the day with you should express our motivation.
                 hope you get that from .., from what we are and what we do. Absolutely.

   Elshinawy;    Are you still gonna explain to me how it's gonna be ... Like if there's no contact. Like
                 how it's gonna be and you guys work together and how it's gonna be. We're not gonna
                 let you go.

   Rodski:       We can't talk about that here. Ah, that's ... This is just not the right place for that. If you
                 want to go forward and .., with the plan that you discussed ... Ah, ah, you suggested
                 some of it we can do that. We're ready to talk about that. It just can' t be here. We
                 can't do this here. Ah, we could ...

   Elshinawy:    How... But ..., but then how would I know after this you're not gonna say hey we got
                 everything from you, you're good now. You're like ... There is no use for you right now.
                 We got all the information we want. Put this guy in .., in court. How would I know that?

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Elshinawy:   It's so big.

Rod ski:     We don't want you to feel that way ..., but let me ask you then ... ,

Elshinawy:    Hmph hmph .

Rod ski:     ...do make ... , the thing that makes me feel better then ..., that makes me feel more
             comfortable ...

Elshinawy:    Okay .

Rod ski:      ...is what ifthey send you more money or what if they ...

Elshinawy:    Oh yeah.

Rod ski:      ...reach out or what if they ...

Elshinawy:    Oh, they're not gonna send me no money.

Rodski :      How do you now this though? How do you know ...

Elshinawy:    Because I have to talk with a guy and I have to convince him to like send.

Rod ski:      So you ask ...

Elshinawy:    I "reach out" at the guy ...

Rod ski:      ... you ask ...

Elshinawy:    ... and I.., I cut if off so right now I don't even know what they really ...

Harvey:       Right.

Elshinawy:    ... expect about me.

Harvey:       Sure.

Elshinawy:    I don't really know.

Rod ski :     But you're not worried they're gonna get upset at you or they're not gonna ...

Elshinawy:    Well this is part ... Yeah, well this ... Everything is I've coming to realize now that I'm
              coming to realize now I'm worthy upset ... Well I'm .., I'm thinking about this now. Why
              did they get upset too?

Harvey:       Right. Hmph hmph.



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Elshinawy:   This is why I told you what you (Unintelligible) like my identification like extremely
             secure.

Harvey:      Right. Oh yeah.

Rod ski:     That's ...

Elshinawy:   That's crazy.

Rod ski :    That is ...

Harvey:      Sure .

Rodski:      ... priority one.

Elshinawy:   That's crazy.

Rod ski:     Yes.

Harvey:      You have to have ... That's a priority, as well.

Elshinawy:   They ... Don't let it go between you guys .., four guys and five guys.

Harvey:      No. I...

Elshinawy:   Hmph hmph.

Harvey:      So nobody... Yeah. It... I assure you that, that is our ... ,

Elshinawy:   Yeah. So I'm like...

Harvey:      ... of utmost importance to us.

Elshinawy:   ... reaching out to them again is .., is .., first makes me scared and I'm scared and second,
             they absolutely would be suspicious. I think so. It is ... If he's from ...

Rod ski:     Why .., why would they be suspicious though?

Elshinawy:   'Cause I just cut it off.

Harvey:      Right. (Un intelligible) ...

Elshinawy:   I already end that a while ago.

Harvey:      It hinders our meeting. Right.

Rod ski:     But you .., you told us..., you told them that you thought you were being ..., you told
             them ..., you gave them reason to cut it off...

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Elshinawy:   Yes, yes.

Rod ski:     ... and what did they say to that?

Elshinawy:   (Unintelligible). Okay. We can do it. We can say {Unintelligible).

Harvey:      They didn't leave it on. You know, ah ..., I guess maybe like, ah, if you're getting in your
             own head as far as like, you know, if you left it with him like he's being watched, they
             expected this not to do anything ... , to lay low. You know what I mean? It's not
             (Unintelligible) ...

Elshinawy:   Yes. I didn' t...

Harvey:      So ...

Elshinawy:    ... and if I come ... ,

Harvey:       To where you at...

Elshinawy:    ... if I come back again and say hey...

Harvey:       Right.

Elshinawy:    ... that sub ...

Harvey:       Right, right. I see what you ...

Elshinawy:    ... they will .., they will..., they will...

Harvey:       But I'm just sayin' like for the ... , the meantime right now though, there's no reason to
              suspect that they' re angry or they're like, you know, like what's wrong but you know
              what I mean? Like this ...

Elshinawy:    Yeah, yeah, I got your point.

Harvey:       So that's kind of an empty spot.

Elshinawy:    Yeah, that... Yes, yes, yes, that., that might be true. Yes.

Rod ski:      But you said they're willing ... It's.., it's verbal. They .., they' re willing to throw money at
              anything. You said that.

Elshinawy:    Yes.

Rodski:       You don't think they'll throw money at this anymore?

Elshinawy:    At the same one? At the same one? I don' t think so because they consider it as ...

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Harvey:      We didn't see anything from this ..., that you're not giving any more money.

Elshinawy:   Yeah. Like we don't see anything so far ...

Harvey:      Yeah. Why would we ...

Elshinawy:   ...and ..., and the same time, he disappeared and he's coming back now?

Harvey:      Right.

Elshinawy:   This guy has something behind him.

Harvey:      Hmph hmph. You think it's...

Elshinawy:   He took the money. He didn't do anything.

Harvey:      Yeah.

Elshinawy:   He also had disappeared ...

Harvey:      Right.

Elshinawy:   ... on us and then all a sudden he appeared again ...

Harvey:      Right. No.

Elshinawy:   ...and asking for him?

Harvey:      Yeah.

Elshinawy:   Ah ...,

Harvey:      But, it...

Elshinawy:   It will be a second thought.

Harvey:      Right.

Rodski:      But you did that already several times with them so they ... I mean at some point, they
             had to have expected something.

Elshinawy:   And ...

Harvey:      Right.

Rod ski:     They had to.



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